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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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 UNITED STATES OF AMERICA,                                      :
                                                                :         SUMMARY ORDER
                            -against-                           :
                                                                :     07-CR-543 (DLI)(SMG)
 RUSSELL DEFREITAS,                                             :
          also known as “Mohammed,”                             :
  AND ABDUL KADIR,                                              :
          also known as “Aubrey Michael Seaforth,” :
                                                                :
                                     Defendants.                :
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 DORA L. IRIZARRY, United States District Judge:

         Familiarity with the background of this case is assumed. See generally United States v.

 Defreitas, 2010 WL 2292194 (E.D.N.Y. June 3, 2010); United States v. Defreitas, 2010 WL

 1850950 (E.D.N.Y. May 6, 2010); United States v. Defreitas, 2010 WL 1223244 (E.D.N.Y. Mar.

 24, 2010). The government moves in limine to preclude, as inadmissible hearsay, defendants’1

 introduction of certain recorded conversations between themselves and their alleged

 coconspirators. (See Docket Entry No. 261 (“Gov’t Mot.”) at 1.) The government further seeks to

 compel defendants to identify the evidentiary basis for any recordings they seek to admit. (See

 id.) For the reasons set forth below, the government’s motion is granted in part and denied in

 part.

         As an initial matter, the court notes that defendant Defreitas submitted a sur-reply to the

 government’s reply. Sur-replies are not permitted; counsel must raise all legally viable



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   By letter to the government dated May 3, 2010, defendant Ibrahim identified sixty-seven
 recordings that he might offer into evidence. (See Docket Entry No. 208.) On June 9, 2010,
 Ibrahim was severed from his codefendants. The issue now being moot as to Ibrahim, the court
 will not address the issue as to him. Similarly, as defendant Nur pled guilty on June 29, 2010 to a
 superseding information in connection with this case, the court will not address his arguments in
 opposition to the government’s motion.

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 arguments in support of their position in the first instance, and not as an afterthought. In the

 future, sur-replies submitted without the court’s permission will be summarily rejected. The

 court further notes disapprovingly that defendant Kadir, once again, has ignored the court’s

 repeated admonitions to refrain from using his responsive briefings to make additional motions.

 If a party desires that the court take some action, the proper procedure is to file a motion, allow

 the opposition the opportunity to respond, and then file a single reply. Any requests deviating

 from this standard procedure in the future will likewise be summarily rejected. For the sake of

 completeness, the court nevertheless addresses the issues belatedly raised by defendants. With

 respect to Kadir’s request that the government “justify by a preponderance of the evidence that

 the statements [it wishes to introduce] were made by a member of the conspiracy in the course of

 and in furtherance of the conspiracy” (Docket Entry No. 282, at 3 (citing FED. R. EVID.

 801(d)(2)(E)), the government has recognized that it must lay a proper foundation at trial prior to

 the introduction of any recordings. (See Docket Entry No. 302 (“Gov’t Reply”) at 4.)

 Accordingly, Kadir’s request in this matter is denied.

        With respect to the government’s motion, Kadir opposes it first on the ground that

 providing the evidentiary bases for the recordings will provide the government an inappropriate

 preview of his defense. (See Docket Entry No. 282 (“Kadir Resp.”) at 3.) This argument is

 utterly unconvincing at this stage of the litigation, on the eve of opening arguments, as the

 United States Supreme Court has held that in limine rulings are permitted “pursuant to the

 district court’s inherent authority to manage the course of trials.” Luce v. United States, 469 U.S.

 38, 39 n.4 (1984). Kadir’s reluctance to provide the court with transcripts of the recordings he

 seeks to introduce and the bases for their introduction does not permit the court to efficiently

 consider the matter in a thoughtful way.



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         Both defendants next respond to the government’s motion by arguing, pursuant to

 Federal Rule of Evidence 106, that the remaining portions of any recorded conversations

 introduced by the government are admissible under the doctrine of completeness. (See Kadir

 Resp. at 1; Docket Entry No. 287 (“Defreitas Resp.”) at 1.) This argument has been mooted by

 the government’s proffer that it will move into evidence the entirety of each of the recorded

 conversations it intends to play at trial, as opposed to merely the portion it intends to play. (See

 Gov’t Reply at 3.)

         Without providing the relevant transcripts to the court, Kadir next argues that certain

 unspecified recordings should be admissible as established hearsay exceptions because they will

 be offered to prove “other relevant facts,” as opposed to the truth of the matter asserted. (Kadir

 Resp. at 1–2.) This response is woefully inadequate. To the extent there are recordings that

 defendants wish to introduce that are not covered by the government’s aforementioned proffer,

 defendants must identify the recordings by session number and provide a transcript thereof to the

 court for its review. To the extent any of these recordings contain defendants’ out-of-court

 statements, defendants must set forth why they should not be barred as inadmissible hearsay, and

 must furthermore set forth their relevance. See FED. R. EVID. 402; see also United States v.

 Marin, 669 F.2d 73, 84 (2d Cir. 1982) (statements introduced as hearsay exceptions must also

 prove relevant to the issues in the lawsuit). Defendants have had these recordings for months.

 The court will not countenance any undue delay of the trial due to the parties’ failure to timely

 raise issues of admissibility to the court.

         Finally, in the face of the government’s proffer that it does not seek to introduce

 statements contained in a conversation recorded on May 25, 2007 known as ID 81, Session 4

 (see generally Docket Entry No. 321; see also Defreitas Resp. Ex. B), Defreitas belatedly argues



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 in his sur-reply that he nevertheless seeks to admit those statements as hearsay exceptions,

 offered to show his then-existing state of mind. See FED. R. EVID. 803(3) (“[a] statement of the

 declarant’s then existing state of mind, emotion, sensation, or physical condition (such as intent,

 plan, motive, design, mental feeling, pain, and bodily health) . . . [is] “not excluded by the

 hearsay rule even though the declarant is available as a witness”). Specifically, Defreitas

 contends that the statements indicate that he did not have the requisite intent to join the charged

 conspiracies, as evidenced by his unwillingness to meet with Abu Bakr. (See Docket Entry No.

 321, at 3.) Having examined the transcript of the conversation in question, the court is satisfied

 that the statements do in fact relate to a then-existing state of mind, as opposed to “a past

 memory or belief offered to prove the fact remembered or believed.” See United States v.

 Cardascia, 951 F.2d 474, 488 (2d Cir. 1991). With no indication that the statements were merely

 “self-serving attempts to cover tracks already made,” the court denies the government’s motion

 as to this recording. United States v. Cianci, 378 F.3d 71, 106 (1st Cir. 2004) (internal quotation

 marks omitted). But see Cardascia, 951 F.2d at 487 (“the likelihood that the declarant is

 misrepresenting his state of mind is not an additional qualification to the admissibility of state of

 mind hearsay statements”) (citing United States v. Harris, 733 F.2d 994, 1005 (2d Cir. 1984)).

 Accordingly, the recording in question may be introduced so long as Defreitas otherwise

 establishes a proper foundation.



 SO ORDERED.

 Dated: Brooklyn, New York
        June 29, 2010
                                                                         /s/
                                                               DORA L. IRIZARRY
                                                             United States District Judge


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